         Case 1:18-cv-01011-RP Document 68 Filed 05/10/21 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                                AUSTIN
                                AUSTIN DIVISION


Darren Lubbe                                   §
                                               §   CIVIL NO:
vs.                                            §   AU:18-CV-01011-RP
                                               §
Mark Milanovich, Christopher Mulch, Brian      §
Perry, Brandon Negri, Jeoff Williams, Rhonda
Fleming, Thomas G. Ruocco, Steven C.
McCraw, Manny Flores, A. Cynthia Leon,
Jason K. Pulliam, Randy Watson, Steven P.
Mach, J. Pete Blair, John Curnutt, Russ
Claggett, Marty Adcock, Armando Ramirez,
Christopher Brock

         ORDER RESETTING JURY SELECTION AND TRIAL


        IT IS HEREBY ORDERED that the above entitled and numbered case is reset
                                                                            reset for
JURY SELECTION AND TRIAL in Courtroom 4, on the Fifth Floor, United States
Courthouse, 501 West Fifth Street, Austin
                                   Austin, TX, on Monday, September 20, 2021 at 09:00 AM.

       IT                        10th day of May, 2021.




                                               Robert Pitman
                                               UNITED STATES DISTRICT JUDGE
